
58 N.Y.2d 817 (1983)
In the Matter of the City of New York, Appellant, Relative to Acquiring Title to Real Property for a Project Known as College Point Industrial Park, Urban Renewal Project II. Peter Reiss et al., Respondents.
Court of Appeals of the State of New York.
Decided January 18, 1983.
Frederick A. O. Schwarz, Jr., Corporation Counsel (Peter A. Mound of counsel), for appellant.
Ignatius John Mileto and Michael J. Greco for respondents.
Concur: Chief Judge COOKE and Judges JASEN, JONES, WACHTLER, FUCHSBERG and MEYER. Taking no part: Judge SIMONS.
On review of submissions pursuant to rule 500.2 (b) of the Rules of the Court of Appeals (22 NYCRR 500.2 [g]), order affirmed, with costs. The findings of the Appellate Division more nearly comport with the weight of the evidence.
